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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF TEXAS
                             HOUSTON DIVISION

UNITED STATES OF AMERICA                     §
                                             §
                                             §
                                             §
VS.                                          §   CRIMINAL NO. H-11-340-7
                                             §
                                             §
                                             §
DONALD DEWAYNE AVERY                         §


                                        ORDER

       The defendant filed an unopposed motion for continuance of the sentencing hearing,

(Docket Entry No. 413). The motion for continuance is GRANTED. The sentencing hearing

is reset to May 10, 2013 at 10:30 a.m. Objections to the presentence report are due by April

23, 2013.

              SIGNED on February 5, 2013, at Houston, Texas.

                                           ______________________________________
                                                      Lee H. Rosenthal
                                                 United States District Judge
